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           16                      UNITED STATES DISTRICT COURT
           17            CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

           18      MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                   a Delaware corporation; and
           19      CERCACOR LABORATORIES, INC.,                  APPLE’S REQUEST TO ADDRESS
                   a Delaware corporation,                       ADDITIONAL ISSUES AT APRIL 3,
           20                                                    2023 STATUS CONFERENCE
                                      Plaintiffs,
           21
                         v.
           22
                   APPLE INC.,
           23      a California corporation,                     Trial: Apr. 4, 2023
           24                         Defendant.
           25
           26           REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL

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             1           Apple respectfully requests that this Court address two additional issues at the
             2     status conference that has been scheduled for April 3, 2023, both of which have taken
             3     on even greater importance as Apple has worked on final preparations for trial.
             4           First, Apple asks that this Court reconsider its decision in the Pretrial
             5     Conference Order to renumber and reorganize Plaintiffs’ list of alleged trade secrets.
             6     Apple has been considering ways to implement the Court’s ruling, but it is now
             7     apparent that it is practically impossible for the parties to avoid references to the
             8     original numbering. The clearest example of this problem is the deposition testimony
             9     that the parties have designated to play for the jury, in which witnesses are examined
           10      with reference to the original numbering. That videotaped testimony cannot be
           11      altered.
           12            As an illustration, Apple has designated the following deposition excerpt from
           13      Plaintiffs’ employee Mr. Walt Weber:
           14                             Attorney Client Privilege

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           27      See Ex. 1 at 2-3 (emphases added).
           28
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             1            Either before or after this and similar testimony is played for the jury, the jury
             2     would need to be informed that Atto has a new and different number in the list in the
                                                    rney
             3     juror notebooks (in this instance,Clie
                                                       Atto is now “ Att ”). That will impose a burden on the
                                                      nt
                                                       rney          orn
             4     jury to understand and remember how to translate
                                                    Privi
                                                       Clie          ey one code into another. It will also
                                                    lege nt         Clie
             5     mean that the jury will necessarilyPrivi
                                                          hear the original
                                                                      nt     numbers that Court’s order
                                                       lege         Priv
             6     meant to keep out of the trial. In other words,ileg to the extent that the Court’s decision
                                                                      e
             7     to renumber was motivated by a desire to avoid the jury hearing high numerals as
             8     designations for alleged trade secrets, that is unavoidable. Short of taking the
             9     inequitable step of barring Apple from playing the videotaped deposition designations,
           10      the jury will inevitably hear the original numeric designations.
           11             The renumbering will create similar problems for the use of printed deposition
           12      transcripts and/or expert reports—e.g., in impeachment of witnesses. The cross-
           13      examiner will need to constantly remind the witness and the jury about how to
           14      translate one set of numbers into another. That will waste time and increase potential
           15      confusion for both the witnesses and the jury. For example, Plaintiffs’ employee Mr.
           16      David Dalke was asked                           Attorney Client Privilege

           17                                                                                                 . Ex.
           18      2 at 2. He answered that                           Attorney Client Privilege                 but
           19      that                                 Attorney Client Privilege

           20
           21                      and that                             Attorney Client Privilege

           22
           23      Id. at 2-3. But in the renumbered list,  Attorney Client     has become “ Att .” If Mr. Dalke
                                                               Privilege                        orn
           24      deviates from his prior testimony about the “      Attorney Client Privilege  ” alleged secret
                                                                                                ey
                                                                                                Cli
           25      when discussing “ Att ,” it could be cumbersome and confusing for Apple      ent to impeach
                                      orn                                                       Pri
           26      him using the old numbering. And again, the key point is that Apple would need to
                                      ey                                                        vile
                                      Cli                                                       ge
           27      refer to the old numbering because that is what the witness used at his deposition.
                                      ent
                                      Pri
           28                         vile
                                      ge
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             1           In short, as a practical matter, there is simply no way to avoid referring to the
             2     original numbering. As a result, the new numbering scheme will not be a substitute
             3     for the original numbering—it will be just another numbering scheme layered on top of
             4     the old scheme. The jury, parties, and witnesses will all be burdened by having to
             5     toggle between the two numbering systems.
             6           Apple accordingly respectfully requests that the Court reconsider its decision
             7     and restore the original numbering for the list of alleged trade secrets in the juror
             8     notebooks. Apple notes that Plaintiffs did not even suggest using an alternative
             9     numbering scheme until the Court proposed it, and that there would be no prejudice to
           10      Plaintiffs in returning to the original numbering on which this case has long been
           11      litigated. Other prominent trade secret cases have had similar—or even much more
           12      significant—gaps in numbering. See, e.g., Waymo LLC v. Uber Techs., Inc., No. 17-
           13      cv-00939, Dkt. 2449-1 at 2 (draft verdict form filed by court asking the jury about
           14      “Alleged Trade Secret No[s].” 2, 7, 9, 13, 14, 25, 90, and 111). Any concern of
           15      prejudice in either direction (e.g., regarding assumptions that Plaintiffs may possess
           16      more trade secrets than the alleged secrets at issue or that some have “fallen out”
           17      during the course of the case) could be addressed with a curative instruction.
           18              Second, Apple respectfully reiterates the request made in its trial brief that the
           19      parties remove the Bates confidentiality stamps (e.g., “Highly Confidential Attorneys’
           20      Eyes Only”) added during this litigation from the trial exhibits for the jury. Dkt. 1495
           21      at 11-12.
           22            This approach would prevent jury confusion in trying to understand the
           23      implications of the confidentiality legends, an especially important issue in this case
           24      where a central issue is whether particular information was truly confidential or was
           25      generally known to others. To avoid any Protective Order issues, the parties would
           26      agree that (1) this procedure would only apply for trial exhibits and would not affect
           27
           28
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             1     the parties’ obligations under the Protective Order and (2) both sides have the right to
             2     seek sealing of the courtroom and/or sealing of the documents themselves.
             3              Plaintiffs have incorrectly suggested that this approach would be difficult to
             4     implement. In reality, it would be quite straightforward since it would only affect the
             5     single set of exhibits going to the jury. And, in any event, Apple has offered to remove
             6     the confidentiality stamps for Plaintiffs if they need help, eliminating any potential
             7     burden argument. See Dkt. 1495-3 at 1.
             8              This issue has taken on new salience given Plaintiffs’ position on the proposed
             9     initial jury instructions. Specifically, Plaintiffs have opposed Apple’s request that this
           10      Court instruct the jury that “while the attorneys to this case have added confidentiality
           11      stamps to the bottom of certain documents, you should make no inference from that
           12      stamp that any information in the document is actually confidential.”1 Plaintiffs’
           13      refusal to agree to remove the stamps and objection to Apple’s instruction heightens
           14      the concern that these legends could be used either intentionally or inadvertently to
           15      confuse. For example, the jury may conflate the attorney-added confidentiality stamps
           16      with evidence relevant to whether Plaintiffs took reasonable steps to maintain secrecy
           17      of the alleged trade secrets.
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                    Plaintiffs objected to Apple’s proposed instruction because some of the parties’
           27      documents may have pre-litigation confidentiality markings. But that simply provides
                   more reason to remove the attorney-added stamps now.
           28
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             1     Dated: March 31, 2023                Respectfully submitted,
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             1                             CERTIFICATE OF COMPLIANCE
             2           The undersigned, counsel of record for Defendant Apple Inc. certifies that this
             3     brief contains 1,191 words, which [choose one]:
             4           X complies with the word limit of L.R. 11-6.1
             5               complies with the word limit set by court order dated [date].
             6
             7     Dated: March 31, 2023                 Respectfully submitted,

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